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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________
                                      )
PARKWAY FOX, L.P., d/b/a              )
PARKWAY VILLAGE WEST,                 )
                                      )
            Plaintiff,                )
                                      )
v.                                    )
                                      )            Case No. 2:13-cv-02567JTF-dkv
THE MASSACHUSETTS BAY                 )
INSURANCE COMPANY,                    )
                                      )
            Defendant.                )


                                   ORDER OF DISMISSAL

         Before the Court is Plaintiff’s Voluntary Motion to Dismiss, ECF No. 91, filed on March

24, 2015. The Court finds the motion is well taken and is GRANTED. The Complaint and all

claims asserted by Plaintiff, Parkway Fox, L.P., d/b/a, Parkway Village West, against Defendant

Massachusetts Bay Insurance Company are DISMISSED WITH PREJUDICE. Each party will

be responsible for its own costs and neither party will seek or be awarded discretionary costs.

         IT IS SO ORDERED on this 24th day of March, 2015.



                                                     s/John T. Fowlkes, Jr.
                                                     JOHN T. FOWLKES, JR.
                                                     UNITED STATES DISTRICT JUDGE




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